                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA
                             EASTERN DIVISION
                      NO. ______________________________


UNITED STATES OF AMERICA,              )
                                       )
                    Plaintiff,         )
                                       )
              v.                       )            COMPLAINT
                                       )
FARMVILLE DISCOUNT DRUG,               )
INC. and ROBERT L. CROCKER,            )
                                       )
                    Defendants.        )


      The United States of America, by and through the United States Attorney for

the Eastern District of North Carolina, complains and alleges as follows:

                                  INTRODUCTION

      1.      For years, Defendants Farmville Discount Drug, Inc. and its owner and

pharmacist-in-charge, Robert L. Crocker, repeatedly filled purported “prescriptions”

in violation of the Controlled Substances Act. These “prescriptions” often involved

highly-abused opioid painkillers such as oxycodone, hydrocodone, hydromorphone,

and methadone, along with other drugs like diazepam (i.e., Valium), alprazolam (i.e.,

Xanax), and zolpidem (i.e., Ambien) that, when taken with opioids, heighten their

potential for abuse and adverse events.

      2.      Farmville Discount Drug shirked its responsibility as the last line of

defense between powerful drugs with high potential for abuse and the people seeking

them. The warning signs were many, but Farmville Discount Drug ignored them.



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Farmville Discount Drug filled prescriptions for dangerous, highly abused drug

combinations for individuals who saw a doctor an hour away and lived an hour away.

Farmville Discount Drug filled prescriptions for a prescriber that Crocker knew had

been cut off by other pharmacies.        Farmville Discount Drug filled controlled-

substance prescriptions for people who hopped from doctor to doctor or pharmacy to

pharmacy.     Farmville Discount Drug filled hundreds of opioid prescriptions for

multiple members of the same family under highly suspicious circumstances.

      3.      Employees expressed concern about these dispensing practices to

Crocker, but he dismissed them, saying that if a doctor wrote the prescription,

Farmville Discount Drug would fill it. This turn-a-blind-eye approach to pharmacy

practice violated the Controlled Substances Act, and the United States now seeks

civil penalties and permanent injunctive relief to hold Crocker and Farmville

Discount Drug accountable for their actions and to prevent them from dispensing or

distributing controlled substances in the future.

                                      PARTIES

      4.      Plaintiff is the United States of America (“United States”).

      5.      Defendant Farmville Discount Drug, Inc. (“FARMVILLE DISCOUNT

DRUG”) is a corporation organized under the laws of North Carolina, with its

principal place of business at 3708 North Main Street, Farmville, North Carolina

27828-1499.

      6.      At all times relevant to the allegations herein, FARMVILLE

DISCOUNT DRUG was registered by the U.S. Drug Enforcement Administration



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(the “DEA”) as a Retail Pharmacy under registration number AF6883222 and was

engaged in the business of operating a retail pharmacy in Farmville, North Carolina.

       7.      Defendant Robert L. Crocker (“CROCKER”) is a resident of the Eastern

District of North Carolina. At all times relevant to the allegations herein, CROCKER

was a pharmacist duly licensed by the North Carolina Board of Pharmacy.

CROCKER is the owner and pharmacist-in-charge of FARMVILLE DISCOUNT

DRUG, meaning he was responsible for the active management of FARMVILLE

DISCOUNT DRUG’s pharmacy business, including the filling of prescriptions for

controlled substances.

                            JURISDICTION AND VENUE

       8.      This is an action to enforce the provisions of the Controlled Substances

Act, 21 U.S.C. § 801 et seq. (the “CSA”). This Court has subject-matter jurisdiction

over this action pursuant to 21 U.S.C. § 842(c)(1)(A), 21 U.S.C. § 882(a), 28 U.S.C.

§ 1345, and 28 U.S.C. § 1355.

       9.      Venue is proper in the Eastern District of North Carolina under 21

U.S.C. § 842(c)(1)(A), 21 U.S.C. § 843(f)(2), 28 U.S.C. § 1395(a), and 28 U.S.C.

§§ 1391(b), (c), and (d).

                               LEGAL BACKGROUND

       10.     The CSA and its implementing regulations set forth a comprehensive

regulatory regime for the manufacture, distribution, and dispensing of controlled

substances. It is unlawful to manufacture, distribute, or dispense any controlled

substance except in a manner authorized by the CSA or its implementing regulations.



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      11.    Under the CSA, controlled substances are categorized into five

schedules based on several factors, including whether they have a currently accepted

medical use in treatment in the United States, their relative abuse potential, and

their likelihood of causing dependence when abused.

      12.    Schedule II controlled substances have a currently accepted medical use

in the United States, or a currently accepted medical use with severe restrictions;

however, these substances also have a high potential for abuse, which may lead to

severe psychological or physical dependence. See 21 U.S.C. § 812(b)(2). Examples of

Schedule II controlled substances include opioid-based painkillers such as oxycodone,

hydrocodone, and methadone.

      13.    Schedule III controlled substances have a potential for moderate

physical dependence or high psychological dependence, but less abuse potential than

Schedule II substances.    See 21 U.S.C. § 812(b)(3).    Examples of Schedule III

controlled substances include buprenorphine or products containing less than 90

milligrams of codeine.

      14.    Schedule IV controlled substances may lead to physical or psychological

dependence when abused, but the potential for abuse is less than Schedule III

substances. See 21 U.S.C. § 812(b)(4). Examples of Schedule IV controlled substances

include alprazolam (brand name Xanax), diazepam (brand name Valium), and

lorazepam (brand name Ativan).

      15.    To prevent the diversion of controlled substances, the CSA imposes

requirements for the distribution and dispensing of these drugs. Among others, all



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pharmacies wishing to distribute or dispense controlled substances first must register

with DEA. See 21 U.S.C. § 822(a). Once registered, a pharmacy, as well as its agents

and employees, are only permitted to distribute or dispense controlled substances to

the extent authorized by their registration and in conformity with the CSA. See 21

U.S.C. § 822(b).

       16.    The CSA defines dispensing to mean delivering a controlled substance

to an ultimate user (e.g., a patient) by, or pursuant to a lawful order of, a practitioner

(i.e., a prescription).   See 21 U.S.C. § 802(10).    Distributing means delivering a

controlled substance other than by dispensing or administering. See id. § 802(11).

       17.    The rules governing the issuance and filling of prescriptions are set forth

in 21 U.S.C. § 829 and 21 C.F.R. Part 1306.

       18.    Section 829 sets forth, among other things, the circumstances when a

controlled substance may be dispensed pursuant to an oral or written prescription.

Under 21 C.F.R. § 1306.04(a), a prescription for a controlled substance is valid only

if it is “issued for a legitimate medical purpose by an individual practitioner acting in

the usual course of his professional practice.” Along with the medical practitioner

issuing the prescription, a pharmacist considering whether to fill the prescription

bears a “corresponding responsibility” to ensure “the proper prescribing and

dispensing of controlled substances.”     Id.   Any “person knowingly filling such a

purported prescription . . . shall be subject to the penalties provided for violations of

the provisions of law relating to controlled substances.” Id. “Person” is defined to




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include an individual, a corporation, a partnership, an association, and any other

legal entity. 21 C.F.R. §§ 1300.01, 1306.02.

       19.    Under 21 C.F.R. § 1306.06, a pharmacist may only fill a controlled-

substance prescription while “acting in the usual course of his professional practice.”

Among other things, acting in the usual course of pharmacy practice includes

compliance with all relevant state laws and regulations.            In North Carolina, a

pharmacist “shall not fill or refill a prescription order if, in the exercise of professional

judgment, there is or reasonably may be a question regarding the order’s accuracy,

validity, authenticity, or safety for the patient.” 21 N.C. Admin. Code 46.1801(b)

(emphasis added).

       20.    In assessing a prescription’s legitimacy, a pharmacist looks to see

whether it presents “red flags,” or warning signs that create a reasonable suspicion

that the prescription is not legitimate.         “Red flags” may include the amount or

combination of controlled substances prescribed; the abuse potential of those

controlled substances; the temporal proximity to other prescriptions filled for the

patient; the prescriber issuing the prescription in light of that prescriber’s location,

prescribing history with the patient, or general prescribing practices; or

circumstances unique to the individual presenting the prescription.

       21.    When a “red flag” is present, a pharmacist must conduct further and

sufficient inquiry to determine whether the controlled-substance prescription is

legitimate. A pharmacist who fills a prescription in the face of one or more red flags

without taking sufficient steps to resolve the red flags exceeds their authorization to



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dispense controlled substances under the CSA, and subjects the pharmacist and the

pharmacy to civil penalties.


                             FACTUAL ALLEGATIONS

      22.    As a retail pharmacy, FARMVILLE DISCOUNT DRUG purchases,

stores, and dispenses controlled substances. At all relevant times, FARMVILLE

DISCOUNT DRUG and CROCKER were subject to the registration and dispensing

requirements of Part C of the CSA, including 21 U.S.C. § 829.

I.    Defendants Systematically Ignored                Red     Flags    When     Filling
      Controlled-Substance Prescriptions.

      23.    From on or about December 1, 2014 through at least as late as July

2019, Defendants knowingly filled prescriptions for controlled substances that

presented significant red flags with respect to their medical legitimacy and/or with

respect to whether they were written by a practitioner in the usual course of

professional treatment. Defendants ignored and otherwise failed to take sufficient

steps to resolve these red flags before filling the prescriptions.


                      Red Flag No. 1: Geographic Distance

      24.    A person traveling an unusually long distance from their home address

and/or their prescriber’s office to fill a prescription, including traveling past multiple

other pharmacies, can be a red flag that the prescription was not written for a

legitimate medical purpose or in the usual course of professional practice.

      25.    Defendants repeatedly dispensed controlled substances, including

opioids, to multiple people whose residential address and/or prescriber address were


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more than fifty (50) miles from FARMVILLE DISCOUNT DRUG. It would have

taken these individuals more than one hour to drive from their homes or from the

distant prescriber’s office to FARMVILLE DISCOUNT DRUG, passing dozens of

pharmacies along the way.


                       Red Flag No. 2: Doctor Shopping

      26.    A person’s history of obtaining controlled substances from multiple

prescribers is also a red flag that a controlled-substance prescription may not have

been written for a legitimate medical purpose or in the usual course of professional

treatment. For example, a physician may stop writing prescriptions for a person if

the physician believes the person is abusing substances, requiring the person to seek

out prescriptions from other physicians.      Alternatively, a patient could move

regularly from doctor to doctor to make it more difficult for any one prescriber to

identify drug-seeking behavior.

      27.    Seeking prescriptions from multiple prescribers is colloquially referred

to as “doctor shopping.”    Defendants had tools available to review a person’s

prescription history, including prescriber information, through North Carolina’s

Controlled Substance Reporting System.        Defendants nevertheless repeatedly

dispensed opioids and other controlled substances to doctor-shopping individuals,

including people who had received controlled-substance prescriptions from eleven or

more prescribers in the previous five years, and to at least one person who had

received controlled-substance prescriptions from nineteen separate prescribers

during the previous five years.


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                     Red Flag No. 3: Pharmacy Shopping

      28.    A person’s history of filling and attempting to fill prescriptions at

multiple pharmacies is also a red flag that a controlled-substance prescription may

not have been written for a legitimate medical purpose or in the usual course of

professional treatment. For example, pharmacies may stop filling for a prescriber

whose prescribing practices themselves raise red flags, thereby requiring drug

seekers to move from pharmacy to pharmacy to fill their prescriptions written by

questionable prescribers. Alternatively, pharmacy staff may recognize a person’s

drug-seeking behavior based on his or her prescription history and may stop filling

for that person, requiring the person to seek to fill a prescription at another

pharmacy.

      29.    Filling prescriptions at multiple pharmacies is colloquially referred to

as “pharmacy shopping.” Defendants had tools available to review an individual’s

prescription history, including the name of the pharmacy filling other prescriptions,

through North Carolina’s Controlled Substance Reporting System.          Defendants

nonetheless repeatedly dispensed opioids and other controlled substances to

pharmacy-shopping individuals, including to people who had filled controlled-

substances at more than ten different pharmacies over a five-year period.


Red Flag No. 4: Family Members & Individuals Residing at Same Address

      30.    The presentation of prescriptions for similar controlled substances by

members of the same family or by individuals residing at the same address is also a

red flag that the prescriptions may not have been written for a legitimate medical


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purpose or in the usual course of professional treatment. Defendants repeatedly

dispensed controlled substances, including many of the same drugs, to individuals of

the same family and individuals sharing a common address.


                      Red Flag No. 5: Pattern Prescribing

      31.    A single prescriber who repeatedly issues prescriptions for the same

drug or drug combinations to multiple people also raises a red flag that the

prescriptions may not have been written for a legitimate medical purpose or in the

usual course of professional treatment. This practice is colloquially referred to as

“pattern prescribing.” Defendants repeatedly dispensed the same drug and/or similar

drug combinations prescribed by the same practitioner for multiple individuals (i.e.,

pattern prescribing), including for individuals residing at the same address.


               Red Flag No. 6: Suspicious Drug Combinations

      32.    Another red flag consists of prescriptions issued for combinations of

drugs that are highly unlikely to serve a legitimate medical purpose and/or are known

cocktails favored by drug abusers. For example, certain combinations of opioids and

other controlled substances, such as benzodiazepines, muscle relaxers, sedatives,

and/or stimulants, can enhance the effects of the substances, but also increase the

risk of adverse events, such as overdose, to the user.        Defendants repeatedly

dispensed combinations of controlled substances whose medical legitimacy was

suspect, including prescribing high doses of opioids combined with other opioids,

benzodiazepines, muscle relaxers, or sedatives.



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      Red Flag No. 7: Early Fills of Schedule II and Schedule IV Drugs

      33.    A person’s attempt to fill a prescription early—i.e., before their current

supply of drugs from a previous prescription is exhausted—is also a red-flag that a

controlled-substance prescription may not have been written for a legitimate medical

purpose or in the usual course of professional treatment. A review of dispensing data

suggests that Defendants repeatedly dispensed controlled substances early. For

example, on more than 150 occasions, and for multiple individuals, Defendants

appear to have dispensed Schedule II and Schedule IV controlled substances more

than five days early, and on some occasions, more than twenty days early.


II.   Many Individuals Presented Multiple Red Flags

      34.    In many cases, the foregoing red flags were not presented to Defendants

in isolated fashion. Rather, Defendants ignored numerous red flags presented by the

same person or prescription. The following examples illustrate the extent to which

Defendants repeatedly failed to resolve multiple red flags in filling prescriptions for

powerful and often-abused controlled substances.


                               Individuals A and B

      35.    FARMVILLE DISCOUNT DRUG filled eighty-one (81) controlled-

substance prescriptions for Individual A between 2015 and 2018.

      36.    During this time, Individual A lived in New Bern, North Carolina at an

address approximately sixty (60) miles from FARMVILLE DISCOUNT DRUG. All

81 prescriptions were written by a prescriber located in New Bern, North Carolina,

approximately fifty-three (53) miles from FARMVILLE DISCOUNT DRUG.

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      37.     In the eighteen months before coming to FARMVILLE DISCOUNT

DRUG, Individual A had filled controlled-substance prescriptions at four separate

pharmacies. But beginning in 2015, Individual A began regularly filling prescriptions

at FARMVILLE DISCOUNT DRUG and continued to do so for nearly three and a

half years.

      38.     Approximately 77% of the prescriptions Individual A filled at

FARMVILLE DISCOUNT DRUG were for 30-mg oxycodone tablets, the highest

strength immediate-release oxycodone tablet available. At one point, FARMVILLE

DISCOUNT DRUG dispensed four thirty-day supplies of 30-mg oxycodone tablets

(720 tablets) for Individual A in just sixty-six (66) days. Specifically, FARMVILLE

DISCOUNT DRUG dispensed 180 tablets of 30-mg oxycodone to Individual A on

December 5, 2016; another 180 tablets on December 15, 2016; another 180 tablets on

January 12, 2017; and another 180 tablets on February 9, 2017.

      39.     FARMVILLE DISCOUNT DRUG often dispensed oxycodone to

Individual A in combination with other opioids (such as 5-mg or 10-mg methadone)

or muscle relaxers (such as 350-mg carisoprodol).      For three months in a row,

FARMVILLE DISCOUNT DRUG filled thirty-day supplies of all three drugs on the

same day—180 tablets of 30-mg oxycodone, 30 tablets of 10-mg methadone, and 60

tablets of 350-mg carisoprodol. Taken together, these drugs increased the euphoric

effects of each other and potential for abuse. However, because of the combined

depressant effects of these drugs on the central nervous system, the combination also

produced a heightened risk of death or overdose. For example, although the Centers



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for Disease Control and Prevention (“CDC”) urge caution when an individual receives

an opioid dosage greater than 90 morphine milligram equivalents (MME) per day,

Individual A received more than 300 MME per day from the oxycodone and

methadone in these prescriptions before adding the potentiating (and central-

nervous-system depressing) effects of carisoprodol.

      40.    FARMVILLE       DISCOUNT         DRUG    also   filled   thirty-four   (34)

prescriptions for Individual B between May 2017 and October 2018. Individual B

shares the same last name as Individual A and resided at the same address as

Individual A for some period of time—the address that was approximately sixty (60)

miles from FARMVILLE DISCOUNT DRUG. Individual B sometimes resided at a

different address; however, that address was also approximately forty-six (46) miles

from FARMVILLE DISCOUNT DRUG and would have required approximately one

hour to drive from the address to FARMVILLE DISCOUNT DRUG.

      41.    In addition, all of the prescriptions Individual B filled at FARMVILLE

DISCOUNT DRUG were written by the same prescriber located in New Bern, North

Carolina, who issued Individual A’s prescriptions.

      42.    Thirty-three (33) of the thirty-four (34) prescriptions that FARMVILLE

DISCOUNT DRUG filled for Individual B were for 30-mg oxycodone tablets—the

same drug and strength that Individual A was receiving. During the period when

both Individual A and Individual B were receiving 30-mg oxycodone from

FARMVILLE DISCOUNT DRUG, Individual A received 3,108 tablets of 30-mg




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oxycodone, and Individual B received 2,590 tablets of 30-mg oxycodone, for a total of

5,698 tablets of oxycodone between them.

      43.    Upon information and belief, FARMVILLE DISCOUNT DRUG

dispensed controlled substances to Individual A and Individual B without taking

necessary and sufficient steps to resolve the red flags raised by the prescriptions

presented for filling at the pharmacy.


                               Individuals C and D

      44.    FARMVILLE DISCOUNT DRUG filled seventy-five (75) prescriptions

for Individual C and 110 prescriptions for Individual D. Individual C and Individual

D share the same last name and have resided at the same addresses.

      45.    Individuals C and D were pharmacy shoppers.             While receiving

controlled substances from FARMVILLE DISCOUNT DRUG, Individual C also filled

controlled-substance prescriptions at three other pharmacies. Likewise, Individual

D used at least three pharmacies to fill prescriptions in the months before and during

the time Individual D filled at FARMVILLE DISCOUNT DRUG.

      46.    Individuals C and D at all times resided at least approximately forty-

nine (49) miles from FARMVILLE DISCOUNT DRUG, and all of the prescriptions

filled by both Individual C and Individual D were written by the same prescriber in

New Bern, North Carolina who wrote prescriptions for Individuals A and B—

approximately fifty-three (53) miles from FARMVILLE DISCOUNT DRUG.

      47.    Beginning in December 2014, Individual C began regularly filling

prescriptions at FARMVILLE DISCOUNT DRUG. Every month for nearly two years,


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Individual C, who was in their twenties, filled a prescription for 240 tablets of 15-mg

oxycodone and 60 tablets of 10-mg diazepam tablets.

      48.    Diazepam, sold under the brand name Valium, is a benzodiazepine.

When taken with opioids, a benzodiazepine like diazepam enhances the euphoric

effect of the opioid. They are also, like opioids, central nervous system depressants.

Both the CDC and the U.S. Food and Drug Administration (“FDA”) have noted the

heightened risk of respiratory depression and overdose when taking opioids and

benzodiazepines concurrently.

      49.    Beginning in November 2016, Individual C stopped receiving the

benzodiazepine, but continued receiving 15-mg oxycodone tablets every month for the

next roughly two years.

      50.    Meanwhile, Individual D, also in their twenties, filled dozens of

prescriptions at FARMVILLE DISCOUNT DRUG from the exact same prescriber and

for the exact same drugs, albeit in slightly different quantities.

      51.    Beginning in December 2014, Individual D began regularly filling

prescriptions at FARMVILLE DISCOUNT DRUG. For each of the first two months,

Individual D filled a prescription for 120 tablets of 15-mg oxycodone and 30 tablets of

5-mg diazepam.      Then, approximately every month for the following two years,

FARMVILLE DISCOUNT DRUG dispensed to Individual D the exact same drugs

dispensed to Individual C—15-mg oxycodone (120 tablets) and 10-mg diazepam (60

tablets). This general pattern continued, with small variation, through October 2018.




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      52.     In total, between December 2014 and October 2018, FARMVILLE

DISCOUNT DRUG dispensed a total of 17,380 15-mg oxycodone tablets and 3,570

10-mg diazepam tablets to Individuals C and D.

      53.     Upon information and belief, FARMVILLE DISCOUNT DRUG

dispensed controlled substances to Individual C and Individual D without taking

necessary and sufficient steps to resolve the red flags raised by the prescriptions

presented for filling at the pharmacy.


                                    Individual E

      54.     FARMVILLE DISCOUNT DRUG filled forty-four (44) prescriptions for

Individual E during a period of approximately fifteen months.

      55.     Individual   E   resided   approximately   fifty-six   (56)    miles   from

FARMVILLE DISCOUNT DRUG, and it would have taken Individual E

approximately one hour and ten minutes to drive to FARMVILLE DISCOUNT

DRUG.       Furthermore, nearly all of the prescriptions Individual E filled at

FARMVILLE DISCOUNT DRUG were written by a prescriber located in New Bern,

North Carolina, approximately fifty-three (53) miles from FARMVILLE DISCOUNT

DRUG.

      56.     Before filling at FARMVILLE DISCOUNT DRUG, Individual E utilized

at least four other pharmacies to fill controlled-substance prescriptions.

      57.     On March 18, 2016, Individual E filled a prescription for 30-mg

oxycodone at FARMVILLE DISCOUNT DRUG, the highest strength of immediate-

release oxycodone available. Beginning on April 14, 2016, FARMVILLE DISCOUNT


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DRUG dispensed to Individual E a combination of three drugs—180 tablets of 30-mg

oxycodone, 60 tablets of 4-mg hydromorphone, and 60 tablets of 10-mg diazepam.

Individual E filled the identical combination eleven more times thereafter. On March

17, 2017, Individual E received the same combination of the three drugs from

FARMVILLE DISCOUNT DRUG, although only thirty tablets of hydromorphone and

diazepam (rather than sixty).

      58.    Taken together, these three central nervous depressants (two of which

are powerful opioids) produced a heightened risk of death or overdose.                 For

comparison’s sake, the oxycodone and hydromorphone prescribed for Individual E in

these prescriptions was 302 MME per day—more than three times the CDC’s

guideline for concern at 90 MME—every day, for more than a year, and before adding

the potentiating (and central-nervous-system depressing) effects of the 10-mg

diazepam, the highest oral strength available for that drug.

      59.    Upon information and belief, FARMVILLE DISCOUNT DRUG

dispensed controlled substances to Individual E without taking necessary and

sufficient steps to resolve the red flags raised by the prescriptions presented for filling

at the pharmacy.


                                     Individual F

      60.    FARMVILLE DISCOUNT DRUG filled seventeen (17) prescriptions for

Individual F between November 2016 and July 2017.

      61.    Individual F’s address was approximately eighty-three (83) miles from

FARMVILLE DISCOUNT DRUG, and it would have taken Individual F


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approximately one hour and forty-two minutes to drive to FARMVILLE DISCOUNT

DRUG.

      62.    All seventeen (17) of the prescriptions filled by Individual F at

FARMVILLE DISCOUNT DRUG were written by a prescriber located in New Bern,

North Carolina, approximately fifty-three (53) miles from FARMVILLE DISCOUNT

DRUG.

      63.    Before arriving at FARMVILLE DISCOUNT DRUG and between

August 2013 and November 2016, Individual F had filled prescriptions at sixteen (16)

separate pharmacies in various locations around eastern North Carolina, including

Kinston, Morehead City, Beaufort, Swansboro, Jacksonville, and New Bern.

      64.    Between August 2013 and November 2016, Individual F had obtained

controlled-substances prescriptions from at least seven different prescribers in

various locations around eastern North Carolina, including Raleigh, New Bern,

Morehead City, Arden, Jacksonville, and Kinston. One of the prescribers from whom

Individual F obtained controlled-substances prescriptions (including prescriptions for

Schedule II and Schedule IV drugs) in the 2013–2014 timeframe, Dr. Douglas

Watford, was convicted on April 8, 2016 in the Eastern District of North Carolina for

illegally distributing controlled substances.

      65.    The seventeen (17) prescriptions filled for Individual F by FARMVILLE

DISCOUNT DRUG included combinations of three drugs—8-mg Buprenorphine, 350-

mg Carisoprodol, and 30-mg Dextroamphetamine-amphetamine. Buprenorphine is

an opioid commonly used to treat opioid addiction, as well as acute pain and chronic



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pain.   Carisoprodol is a muscle-relaxer commonly paired by drug abusers with

opioids. Dextroamphetamine-amphetamine, commonly sold under the brand name

Adderall, is a Schedule II stimulant. Combining these drugs increases the risk of

overdose and death, particularly because the stimulant may lessen the perceived

and/or desired depressive effects of the opioid and muscle-relaxer, causing one to take

more of the opioid and muscle-relaxer to achieve the desired effects.

        66.   Upon information and belief, FARMVILLE DISCOUNT DRUG

dispensed controlled substances to Individual F without taking necessary and

sufficient steps to resolve the red flags raised by the prescriptions presented for filling

at the pharmacy.


                              Individuals G, H, I, and J

        67.   Between December 2014 and July 2019, FARMVILLE DISCOUNT

DRUG filled 289 prescriptions for Individual G, 188 prescriptions for Individual H,

182 prescriptions for Individual I, and sixty-seven (67) prescriptions for Individual J.

All four individuals share the same last name. Upon information and belief, all four

individuals are members of the same family. Individual G and Individual H reside

at the same address. Individual I and Individual J reside at the same address. These

two addresses are located on the same street.

        68.   During the period of time FARMVILLE DISCOUNT DRUG filled

prescriptions for Individual G, Individual G utilized at least six other pharmacies to

fill prescriptions for controlled substances. Also during this period, Individual G




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obtained prescriptions for controlled substances from at least eight different

prescribers.

      69.      Similarly, during this general period of time, Individual H utilized at

least four other pharmacies besides FARMVILLE DISCOUNT DRUG to fill

prescriptions    for   controlled   substances,   and   obtained   controlled-substances

prescriptions from at least twelve different prescribers.

      70.      During this same period, Individual I utilized at least five other

pharmacies besides FARMVILLE DISCOUNT DRUG to fill prescriptions for

controlled substances, and obtained controlled-substances prescriptions from at least

twelve different prescribers.

      71.      During this same period, Individual J utilized at least one additional

pharmacy besides FARMVILLE DISCOUNT DRUG to fill prescriptions for controlled

substances, and obtained controlled-substances prescriptions from at least eleven

different prescribers.

      72.      FARMVILLE DISCOUNT DRUG dispensed a significant volume of

opioids to these four family members.         Between 2014 and 2019, FARMVILLE

DISCOUNT DRUG dispensed more than 55,225 dosage units of opioids to Individuals

G, H, I, and J, including oxycodone, oxymorphone, fentanyl, and hydrocodone.

      73.      FARMVILLE DISCOUNT DRUG also regularly dispensed other drugs

to Individuals G, H, I, or J that created heightened risks of abuse, overdose, or death,

including benzodiazepines (such as lorazepam, alprazolam, and/or diazepam) or

sedatives (such as zolpidem). For example, within a single 30-day period in December



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2018 and January 2019, FARMVILLE DISCOUNT DRUG dispensed the following

drugs to Individual I on the following dates:


 Fill Date           Drug                                             Quantity
 12/11/2018          Oxycodone 20-mg                                  120 tablets
 12/11/2018          Oxymorphone Extended Release 40-mg               120 tablets
 12/28/2018          Zolpidem 10-mg                                   30 tablets
 12/28/2018          Oxycodone 20-mg                                  120 tablets
 1/10/2019           Oxymorphone Extended Release 40-mg               120 tablets
 1/11/2019           Lorazepam 1-mg                                   15 tablets


       74.    Individuals G, H, I, and J also had a lengthy history of filling Schedule

II and Schedule IV prescriptions significantly early.       FARMVILLE DISCOUNT

DRUG dispensed Schedule II drugs to each individual at least seven days early on

one or more occasions, and Individual I obtained dozens of early fills for both Schedule

II and Schedule IV drugs—many of which were twenty days or more early.

       75.    Upon information and belief, FARMVILLE DISCOUNT DRUG

dispensed controlled substances to Individuals G, H, I, and J without taking

necessary and sufficient steps to resolve the red flags raised by the prescriptions

presented for filling at the pharmacy.


III.   Defendants Dismissed Concerns Raised by Other Employees.

       76.    Multiple FARMVILLE DISCOUNT DRUG employees expressed

concerns about many of the above-described red flags directly to CROCKER.

Specifically, FARMVILLE DISCOUNT DRUG employees expressed concerns over

prescriptions written for multiple people by a distant prescriber and about filling

high-powered opioid prescriptions for members of the same family. CROCKER was


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also aware that pharmacies closer to the New Bern prescriber’s location had stopped

filling prescriptions for the distant prescriber.

           77.   Ultimately, CROCKER dismissed these concerns. As he stated to an

employee, if a doctor wrote the prescription, FARMVILLE DISCOUNT DRUG would

fill it.

                              CIVIL PENALTY LIABILITY
                                  21 U.S.C. § 842(a)(1)

           78.   The United States re-alleges and incorporates by reference the foregoing

paragraphs as if fully set forth herein.

           79.   21 U.S.C. § 842(a)(1) makes it unlawful for any person subject to Part C

of the CSA to distribute or dispense a controlled substance in violation of 21 U.S.C. §

829. As a DEA registrant and owner-manager of a registrant dispensing controlled

substances, respectively, FARMVILLE DISCOUNT DRUG and CROCKER are

subject to Part C of the CSA.

           80.   Defendants violated 21 U.S.C. § 829 by filling prescriptions for Schedule

II, III, or IV controlled substances that also were prescription drugs under the

Federal Food, Drug, and Cosmetic Act, outside the usual course of pharmacy practice

and not in compliance with their “corresponding responsibility.” 21 C.F.R. §§ 1306.04

and 1306.06.

           81.   Namely, in an amount to be determined at trial, and upon information

and belief, Defendants filled prescriptions without resolving one or more red flags

indicating that such prescriptions were not written for a legitimate medical purpose

or in the usual course of professional treatment.

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      82.    Under 21 U.S.C. § 842(c)(1)(A) and 28 C.F.R. § 85.5, each violation of 21

U.S.C. § 842(a)(1) subjects Defendants to a civil penalty of not more than $25,000.00

for violations occurring on or before November 2, 2015, and not more than $64,820.00

for violations occurring after November 2, 2015.

                      PERMANENT INJUNCTIVE RELIEF
                        21 U.S.C. §§ 843(f)(1) and 882(a)

      83.    The United States re-alleges and incorporates by reference the foregoing

paragraphs as if fully set forth herein.

      84.    Under 21 U.S.C. § 843(f), the Attorney General of the United States is

authorized to seek appropriate declaratory or injunctive relief relating to violations

of 21 U.S.C. § 842. More broadly, 21 U.S.C. § 882(a) provides for any violation of the

CSA to be enjoined.

      85.    Based on the violations set forth herein and Defendants’ years-long

pattern of conduct, the United States requests that the Court enter a permanent

injunction (i) prohibiting Defendants from administering, dispensing, or distributing

any controlled substance; (ii) requiring Defendants to surrender FARMVILLE

DISCOUNT DRUG’s current DEA Certificate of Registration for cause; (iii)

prohibiting Defendants from applying for or seeking renewal of any DEA Certificate

of Registration on Defendants’ behalf or on behalf of any corporate entity; and (iv)

prohibiting CROCKER from applying for or seeking renewal or reinstatement of a

license or certificate to practice pharmacy anywhere in the United States.




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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

the United States and against Defendants as follows:

      1.      Impose civil penalties up to the maximum amount allowed by law for

each violation of 21 U.S.C. § 842(a)(1) committed by Defendants;

      2.      Enter a permanent injunction (i) prohibiting Defendants from

administering, dispensing, or distributing any controlled substance; (ii) requiring

Defendants to surrender FARMVILLE DISCOUNT DRUG’s current DEA Certificate

of Registration for cause; (iii) prohibiting Defendants from applying for or seeking

renewal of any DEA Certificate of Registration on Defendants’ behalf or on behalf of

any corporate entity; and (iv) prohibiting CROCKER from applying for or seeking

renewal or reinstatement of a license or certificate to practice pharmacy anywhere in

the United States;

      3.      Award the costs associated with the investigation, prosecution, and

collection of the penalties and other relief in this matter; and

      4.      Award any other relief deemed just by the Court.




                  [Remainder of Page Left Intentionally Blank]




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      Respectfully submitted this the 29th day of January, 2020.


ROBERT J. HIGDON, JR.                 JOSEPH H. HUNT
United States Attorney                Assistant Attorney General
                                      Civil Division
BY:   /s/ John E. Harris
                                      DAVID M. MORRELL
C. MICHAEL ANDERSON                   Deputy Assistant Attorney General
Assistant United States Attorney
N.C. State Bar No. 42646              GUSTAV W. EYLER
JOHN E. HARRIS                        Director
Assistant United States Attorney
NC State Bar No. 49253                JILL P. FURMAN
Civil Division                        Assistant Director
150 Fayetteville Street
Suite 2100                            BY:     /s/ James W. Harlow
Raleigh, NC 27601-1461                       JAMES W. HARLOW
Telephone: (919) 856-4530                    Trial Attorney
Facsimile: (919) 856-4821                    Consumer Protection Branch
E-mail: michael.anderson7@usdoj.gov          U.S. Department of Justice
        john.harris5@usdoj.gov               P.O. Box 386
                                             Washington, DC 20044-0386
                                             Telephone: (202) 514-6786
                                             Facsimile: (202) 514-8742
                                             E-mail: james.w.harlow@usdoj.gov
                                             Maryland Bar (no numbers issued)




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